Case 1:20-cr-00010-JAJ-CFB Document 31 Filed 03/27/20 Page 1 of 8

-IN THE UNITED STATES DISTRICT COURT -
FOR THE SOUTHERN DISTRICT OF IOWA

Defendant.

)

UNITED STATES OF AMERICA, )

Criminal No, 1:20-cr-00010

) STIPULATED DISCOVERY AND
) PROTECTIVE ORDER

CASEY RAY GANTT, - )
).

)

~ The following discovery and reciprocal discovery obligations have been agreed to by the
parties and the Court so ORDERS such compliance:

L. Acknowledgment of Requests for Discovery. The parties acknowledge that
Defendant has requested discovery from the Government, pursuant to Fed. R. Crim. P. 16(a) and ,
| 26.2 and 18 U.S.C. § 3500(b), and that the Government has requested reciprocal discovery from
the Defendant, pursuant to Fed. R. Crim. P. 16(b) and 26.2. Defendant further acknowledges that
the Government has requested notice of any alibi, Fed. R. Crim. P. 12.1, insanity defense, Fed. R.
Crim. P. 12.2, or public authority defense, Fed. R. Crim. P. 12.3, and agrees to provide notice of
such defenses within fourteen calendar days of this agreement, unless the Court specifically sets a
different date upon application of the Defendant!

2, Government’s Rule 1 (a) Discovery and other Physical Evidence. Upon
execution: and approval by the Court of this Agreement and Order, the Government will make
available for review by Defendant’s counsel any original physical evidence, financial records, and

other Rule 16(a) materials gathered during the investigation by whatever means, including by

 

‘it Defendant’s counsel requires further information about the time, date, and place of the
alleged offense beyond the information set forth in the Indictment and the Government’s discovery
materials, Defendant’s counsel wiil specificaily notify Government counsel. ,

 
Case 1:20-cr-00010-JAJ-CFB Document 31 Filed 03/27/20 Page 2 of 8

search warrant, grand jury subpoena, other legal process, or consent. These materials may be

reviewed by scheduling an appointment during business hours at the United States Attorney’s

_ Office and/or at the law enforcement agency in possession of any original evidence. To the extent -
that these materials are not voluminous and may be conveniently copied, the Government may.

elect to provide copies of these materials to Defendant’s counsel; otherwise, Defendant’s counsel

may make arrangements to make copies of these materials at Defendant’s expense.’

3, Government’s Witness Statements/Information and Brady Material. With

respect to the Defendant, any co-defendants, and any witnesses reasonably anticipated to testify at
trial, the Government will provide copies of law enforcement reports (excluding evaluative
material of matters such as possible defenses and legal strategies), witness statements, and
memoranda of witness interviews prepared by Government investigators (e.g., FBI 302s, DEA-6s,

etc.), which provide the basis for the case against the Defendant. The Government also will provide

copies of any Brady or Jencks Act materials (other than grand jury transcripts) of which the United.

States Attorney’s Office is aware and possesses. These materials will be provided upon execution
and approval of this Agreement, to be supplemented if and when additional materials become
available.. Should Defendant's counsel become aware of any potential Brady material not
contained in the discovery file, Defendant’s counsel will notify the United States Attorney’s Office
‘and request that such information be added to the discovery file. |

4. _ Restrictions on Use and Disclosure. All materials provided under this Agreement

are for the limited purpose of being used in the above-captioned criminal case and may not be used

 

2 If dissemination ot release of any of these materials is prohibited by law, see, e.g,

18 U.S.C. § 3509Gn), Defendant’s counsel will not be permitted to copy them.

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Case 1:20-cr-00010-JAJ-CFB Document 31 Filed 03/27/20 Page 3 of 8

' or disclosed for any other purpose, including for any other civil or criminal case in federal or state
court (other than proceedings arising from this prosecution under 28 U.S.C. § 2255), unless

specifically permitted and ordered by the United States District Court for the Southern District of

lowa. These materials may be discussed with and shown to Defendant. However, copies of the .

following material, in any form’, may not be left with or provided to the Defendant or any other
person (nor may Defendant be permitted to make copies of these materials): law enforcement
reports, investigative reports and summaries, witness statements, memoranda of witness
interviews, medical records (other than defendant’s own medical records), audio recordings, video
recordings, and grand jury testimony and exhibits. Defense counsel also agrees not to show any
such materials, memoranda, or witness interviews to any witness in the case, except for any
transcribed testimony or written statement signed or expressly adopted by that witness. Copies of
discovery materials provided to Defendant’s counsel shall be either destroyed or returned to
Government counsel following the conclusion of all matters relating to this criminal case.

5. Redacted or Withheld Information. Tbe Government may redact or withhold

information from discovery for security concerns or to protect an ongoing investigation or,

alternatively, may require that such materials be reviewed at the U.S. Attorney’s Office and not.

copied; the Government also may redact certain personal identifying information, such as social

- security numbers and dates of birth, to protect the privacy interests of potential witnesses.’ This

 

3 This includes both paper and electronic copies, as well as summaries or dictation that may
be prepared by or on behalf of Defendant’s counsel.

4 To the extent that any discovery materials in this case contain personal identifying
information of any person, such as social security numbers, dates of birth, or financial account
information, or any person’s medical records or information, Defendant’s counsel agrees that these
materials will be subject to the restrictions set forth in paragraph 4.

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Case 1:20-cr-00010-JAJ-CFB Document 31 Filed 03/27/20 Page 4 of 8

does not preclude the Defendant from requesting in camera review by the Court of such material,
upon proper showing, in order to determine whether of not it should be disclosed in accordance
with Fed. R. Crim. P. 16 or other legal authorities. Where information is withheld, a notice of the
withholding, along with a general description of the type of material withheld, will be provided to
Defendant’s counsel. The Government also will not disclose evidence that it may elect to use for
impeachment of defense witnesses or as possible rebuttal evidence. .
6. Special Requirements for Cases Involving Minor Victims and/or Witnesses. The
. parties agree that any and all discovery information identifying minor victims and/or minor

witnesses shall be subject to the following restrictions, in accordance with Fed. R. Crim. P. 16(d)

(discovery and inspection), Fed, R. Crim. P. 49.1 (privacy protections), 18 U.S.C. § 3509(d) (The

Child Victims’ and Child Witnesses’ Rights Act), and 18 U.S.C. § 3771(a) (The Crime Victims’
Rights Act):

« All documents that disclose the name or any other information concerning a minor
victim/witness shall be kept in a secure place to which no person who does not have
reason to know their content has access.

e Copies of discovery materials containing identifying information or potentially
identifying information for any minor victim/witness shall not be left with the
Defendant.

e All publicly filed or disseminated documents shall identify minor victims/witnesses by
generic name, such as “Minor A.”

¢ Defendant may not, directly or indirectly, including through family members or other
personal contacts, make any attempt to contact any minor victim or witness in the case.
(This prohibition does not prohibit Defendant’s counsel, or private investigator, from
contact with potential witnesses, subject to the restrictions below.)

e ‘If Defendant’s counsel or private investigator contacts any victim/witness who has not
attained the age of 18, the victim/witness shall be advised from the outset that the
victim/witness can decline to speak with Defendant’s counsel/investigator and can have
an adult of the minor’s choosing present. For example, an investigator acting on behalf
of Defendant shall state as follows: “I work for the Defendant and Defendant’s lawyers

4

 
Case 1:20-cr-00010-JAJ-CFB Document 31 Filed 03/27/20 Page 5 of 8

regarding criminal charges the Government has asserted against the Defendant. I
would like to speak to you about that matter. You can decline to speak with me. You
can also have an adult of your choosing present if you decide to speak with me. Wiil
you speak with me and if so, who would you like to be present?” The Government
may advise any minor victim/witness and their parents or legal guardians of their rights
to speak with defense personnel only if they choose, and to have an adult of their
choosing present.

7, Defendant’s Reciprocal Discovery Obligations. Defendant agrees to provide the
following reciprocal discovery materials within fourteen calendar days of this Agreement: Copies
of documents, tangible objects, and other materials that Defendant may offer into evidence during
its case-in-chief, reports of examinations and tests, and summaries of expert witnesses, to the full
extent of Fed. R. Crim. P. 16(b); and, statements of any witness Defendant intends to call at trial,
including any written statements or substantially verbatim, contemporancously recorded recital of
such prior statements to the full extent of Fed. R. Crim. P. 26.2 and 18 U.S.C. § 3500(e).

8. Notice Under Rules of Evidence and Criminal Procedure. Unless otherwise

indicated, the general nature of information that the Government may offer into evidence pursuant

to Federal Rules of Evidence 404(b) and 609(b) is set forth within the discovery materials. The

undersigned counsel for the Defendant understands and agrees that the review of these materials
provides the Defendant with necessary ‘notice, in compliance with Federal Rule of Criminal
Procedure 12(6)(4) and Federal Rules of Evidence 404(b) and 609(b), as to any and all materials
which are relevant to those rules. Upon a specific request by Defendant’s counsel, however, the
Government will specify whether it intends to use any such evidence, whether it will be offered
pursuant to Rule 404(b), and the purpose for which it is offered under the rule without further

motion or order.

 
Case 1:20-cr-00010-JAJ-CFB Document 31 Filed 03/27/20 Page 6 of 8

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9. Giglio Information. The Government will provide potential Giglio information
relating to witnesses reasonably anticipated to be called during its case-in-chief and will, in
advance of trial, run “rap” sheets of non-law enforcement witnesses reasonably anticipated to be
called as.witnesses during its case-in-chief. Any potential or alleged Giglio information related to
law enforcement witnesses must be reviewed at the U.S. Attorney’s Office and must remain at all
time in the Government’s custody; the Government reserves the right to submit such materials to

‘the Court for in camera review to determine whether disclosure is required.

10. - Grand Jury Testimony. The Government agrees to provide counsel for the
Defendant with access to the grand jury testimony of witnesses reasonably anticipated to be called
as witnesses at trial no later than ten calendar days before the scheduled trial date. If the
Government elects to delay disclosure of grand jury transcripts until less than ten calendar days
before trial, because of witness security concerns or other reasons, it will notify defense counsel.
Any copies of grand jury testimony will be subject to the restrictions regarding law enforcement
reports and witness statements, as set forth above. Defendant’s counsel agrees not to move for a
continuance of the trial date once the grand jury transcripts have been disclosed.

ll. Materials Obtained by Trial Subpoena (Mutual Obligation). Any materials

obtained pursuant to trial subpoenas issued by cither party will be disclosed to all parties, in full,

immediately upon receipt. The parties further acknowledge that neither party may require the

production of documents or other evidence prior to trial pursuant to a trial subpoena without .

obtaining a specific Court order, with notice to all parties, in accordance with Rule 17(c) of the

Fedegal Rules of Criminal Procedure.

 
Case 1:20-cr-00010-JAJ-CFB. Document 31 Filed 03/27/20 Page 7 of 8

12. Witness and Exhibit Lists. The parties agree to exchange witness lists and exhibit

lists no later than five calendar days. before the scheduled trial date. |
13. Continuing Obligation. The parties acknowledge that they are subject to a
continuing duty of disclosure, including under Federal Rule of Criminal Procedure 16(c). The
parties will promptly disclose any additional discovery materials under this Agreement — including
Rule 16 materials, witness information, and Brady information — if additional materials are
identified or obtained following execution of this Agreement or beyond the deadlines agreed
herein. Any additional materials provided will be subject to the restrictions set forth in this

Agreement, Opposing counsel will be notified when additional discovery materials are added.

14. Resolution of Disputes. The parties agree that they will attempt to resolve any

‘ disputes involving discovery and reciprocal discovery between themselves before filing any

discovery-related motions (including motions for bills of particulars) with the Court, consistent
with the requirements of Local Criminal Rule 16(b). |

15. Applicability. Undersigned counsel for both patties agree that the terms and
restrictions of this asreemenit extend to other lawyers, staff, and investigators working with ot on
behalf of the undersigned counsel (including, but not limited to, other employees or lawyers
associated with defense counsel’s law practice, and any investigators retained by or acting on
behalf of the Defendant, as well as employees of the US. Attorney’s Office and Government
investigators assigned to this case). If different counsel is appointed ot retained to. represent
Defendant, the discovery materials provided under this Agreement shall not be released to new

counsel until new counsel files a statement with the Court acknowledging that counsel will be

 
Case 1:20-cr-00010-JAJ-CFB | Document 31 Filed 03/27/20 Page 8 of 8

bound to the terms of this Agreement, Any violation of this agreement will obligate the Defendant
to immediately return any and all documents provided to the U.S. Attorney’s Office.

16. Authority and Scope. The parties agree that the Court has the authority to enter
and enforce this Order, including under the authority of Rule 16(d) of the Federal Rules of Criminal
Procedure and that this Order shall be remain binding onall counsel, including any additional or

new counsel that may appear on behalf of the Government or the Defendant after execution of this

 

 

‘Agreement.
IT IS SO ORDERED. .
Dated this day of March 2020.
Honorable Celeste F. Bremer
United States Magistrate Judge
’ SEEN AND AGREED:
26 /2Z2O
Date

 

“fomney for the Defendant

- Mare Krickbaum.
. United States Attor

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Date : . \ShellyM iM Sud)
Assistant United-Stdtes Attorney

 
